      Case 1:21-cv-00543-JCH-JMR Document 71 Filed 05/09/23 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


TRAVIS GLASS,


                Plaintiff,
 v.                                                            No. 1:21-cv-00543 JCH-JHR


XTO ENERGY, and TOMMIE CRIDDLE,
individually and as agent of XTO Energy or
as agent or employee of INTEGRITY
INSPECTION SERVICES, LLC and I
NTEGRITY INSPECTION SERVICES,

                Defendants.

                      RESPONSE TO SECOND ORDER TO SHOW CAUSE

         Travis Glass, by and through his attorneys Valdez and White Law Firm, LLC,

(Timothy L. White), files this Response to the Court’s Second Order to Show Cause

regarding efforts to serve Defendant Tommie Criddle.

          1.     The Court issued a Summons for Defendant Criddle on April 27, 2023.

                 Email, Exhibit A.

          2.     On April 27, 2023, Plaintiff attempted service of the Summons and Second

                 Amended Complaint on April 27, 2023 by mail - certified, return receipt

                 requested, and electronic return receipt, #7019 2280 0001 2938 1436. Copy

                 of envelope attached, Exhibit B.

          3.     On May 9, 2023 (today), Plaintiff received the envelope returned as

                 undeliverable dated May 5, 2023. Exhibit C.




                                               1
   Case 1:21-cv-00543-JCH-JMR Document 71 Filed 05/09/23 Page 2 of 5




        4.      Learning for the first time on May 9, 2023 that the attempted service was not

                successful, Plaintiff will have Defendant Criddle served in person.

                                      Respectfully submitted,
                                      Valdez and White Law Firm, LLC
                                      By: /s/ Timothy L. White
                                      Timothy L. White
                                      124 Wellesley Dr SE
                                      Albuquerque, NM 87106
                                      Telephone: (505) 345-0289
                                      Facsimile (505) 345-2573
                                      Attorneys for Plaintiff

                               CERTIFICATE OF SERVICE

        I certify that the foregoing that on May 9, 2023, I filed the foregoing electronically
through the CM/ECF system, which caused all parties or counsel of record to be served by
electronic means, as more fully reflected on the notice of electronic filing.

/s/ Timothy L. White
Timothy L. White




                                                2
          Case 1:21-cv-00543-JCH-JMR Document 71 Filed 05/09/23 Page 3 of 5


Sent: Thursday, April 27, 2023 10:01 AM
To: NMDdb_Summons <summons@nmd.uscourts.gov>
Cc: Whitney Warner <~y..@valdezwhite.com>
Subject: 1-21-cv-00543 JCH-JCR Glass v. Integrity Inspection et al

CAUTION - EXTERNAL:


Dear Clerk
Attached is a summons to serve Tommie Criddle, please let me know if you need more from us
to issue this please

Tim White

Everybody counts or nobody counts

Timothy L. White - Attorney
Valdez & White Law Firm, LLC

Trying lawsuits for people, not corporations
Practice areas limited to:
Employment discrimination and harassment
Retaliatory discharge
Civil rights
Severe personal injury claims

www. va)de zw hite.corn
124 Wellesley Drive SE
Albuquerque, NM 87106
Tel: (505) 345-0289
Fax: (505) 345-2573

 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when
 opening attachments or clicking on links.




This email has been scanned for spam and viruses. CIiek he.@ to report this email as spam.




                                                  Exhibit 1
         Case 1:21-cv-00543-JCH-JMR Document 71 Filed 05/09/23 Page 4 of 5


 Subject: RE: [External) 1-21-cv-00543 JCH-JCR Glass v. Integrity Inspection et al
 Date:    Thursday, April 27, 2023 at 10:23:27 AM Mountain Daylight Time
 From:    Tim White
 To:      NMDdb_Summons
 CC:      Whitney Warner

 Thank you

 Everybody counts or nobody counts

 Timothy L. White , Attorney
 Valdez & White Law Firm, LLC

 Trying lawsuits for people; not corporations
 Practice areas limited to:
 Employment discrimination and harassment
 Retaliatory discharge
 Civil rights
 Severe personal injury claims

 www.valdezwhitc.com
 124 Wellesley Drive SE
 Albuquerque, NM 87106
 Tel: (505) 345-0289
 Fax: (505) 345-2573

From: NMDdb_Summons <summons@nmd.uscourts.gov>
Sent: Thursday, April 27, 2023 10:22 AM
To: Tim White <tim@valdezwhite.com>; NMDdb_Summons <summons@nmd.uscourts.goV>
Cc: Whitney Warner <Whitney@valdezwhite.com>
Subject: RE: [External) 1-21-cv-00543 JCH-JCR Glass v. Integrity Inspection et al

Good morning,

Attached is the issued summons,

Thank you,


JACOB   T. GARCIA
 us. DISTRICT COURT OF NEW MEXICO
 333 LOMAS BLVD. NW, SUITE 270
 ALBUQUERQUE, NM 87102
 OmCE: 505-348-2000
 SUMMONS@NMO,USCOUUTS,GOV




From: Tim White <!im(a)yaldezwhite.com >
                                             d
                          Case 1:21-cv-00543-JCH-JMR Document 71 Filed 05/09/23 Page 5 of 5
Valdez & White Law Firm, LLC
124 Wellesley Dr SE
Albuquerque, NM 87106                                                                                                                    U.S. PiSTA~E PAID
                                                                                                                                                                 .
                                                                                                                                                                ,i
                                         I 11 1 I               1111                                                                    ~t~l}aJrnauE, -
                                                                                                                                        871 0 1
                                                                                                                                                       NM
                                                                                                                                                                -~

                                      7019 2280 0001 2938 1436
                                                                                                                                        ~~'MNr23
                                                                                     RDC99
                                                                                                                    39773
                                                                                                                                            $7.12
                                                                                                                                         R2303S 104657-9




                                                 Tommie Criddle
                                                 PO Box 1430
                                                 West Point, M~      NIXIE                     392          FE 1                        0005 / 05/23
                                                                                         RETURN               TO SENDER
                                                                             NOT DE L IVERAB L E                       AS     ADDFF"-SED
                                                                                         UNABLE               TO FORWARD
           Exhibit 2                                                 !=?:·    P.:'1~5144424                            *1.466 --. ~37~.i- ~'i-3--S
                                                                                               I, 1III111 Il I"' 11, 1 j 11 lll II III t1 IIfI111, 11! I'"!ii
                                                            UT~
                                                 8 71.0 6 > 1.4 44   - - . II,Ii I,, I~ 'II'                          !
